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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

Dynamite Marketing, Inc.                      )
                                              )       Case No. 18-cv-7760
v.                                            )
                                              )       Judge: Hon. John J. Tharp
THE PARTNERSHIPS and                          )
UNINCORPORATED ASSOCIATIONS                   )       Magistrate: Hon. Young B. Kim
IDENTIFIED ON SCHEDULE “A”                    )
                                              )
                                              )

                                       Voluntary Dismissal

        Pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil Procedure, the undersigned

counsel for plaintiff hereby notify this Court that the plaintiff, Dynamite Marketing, Inc.,

voluntarily dismiss any and all claims against defendants without prejudice:

      Doe      Store Name                               Mercahnt ID
 47            key ninja                                waterfall
 86            key ninja                                苏州执子念服饰有限公司

Dated: March 7, 2019
                                              Respectfully submitted,



                                              By:       s/David Gulbransen/
                                                      David Gulbransen
                                                      Attorney of Record

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